Case 8:17-cv-01868-JVS-DFM Document 6 Filed 09/06/17 Page 1 of 3 Page ID #:37



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


   COMMODITY FUTURES
   TRADING COMMISSION,

               Plaintiff,                               Hon. ___________

               v.                                       Case No. 1:17-cv-06416

   MONEX DEPOSIT COMPANY, MONEX
   CREDIT COMPANY, NEWPORT
   SERVICES CORPORATION, LOUIS
   CARABINI, and MICHAEL CARABINI,

               Defendants.


              PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff Commodity Futures Trading Commission, (“CFTC” or “Commission”), hereby

moves the Court for an order of preliminary injunction pursuant to Section 6c(a) Commodity

Exchange Act, (“CEA”), 7 U.S.C. § 13a-1(a) (2012), enjoining Defendants Monex Deposit

Company, Monex Credit Company, and Newport Services Corporation, (collectively “Monex”),

from committing further violations of the CEA during the pendency of the litigation, appointing

an independent monitor to assume control over Monex’s leveraged Atlas trading platform,

freezing Monex’s assets or otherwise requiring Monex to post bond in the approximate amount

of customer losses from leveraged Atlas trading between July 16, 2011 and the present, and

otherwise preserving the status quo during the pendency of the litigation.

       Contemporaneous with this Motion, the CFTC filed: (1) a Complaint for Injunctive and

Equitable Relief and Penalties Under the Commodity Exchange Act, (2) a Motion to Exceed

Page Limit for Plaintiff’s Memorandum in Support of Plaintiff’s Motion for Preliminary
Case 8:17-cv-01868-JVS-DFM Document 6 Filed 09/06/17 Page 2 of 3 Page ID #:38



Injunction, and (3) a Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction,

all of which are incorporated herein by reference.

       WHEREFORE, the Commission respectfully requests that this Court enter an order of

preliminary injunction:

       A. Enjoining Monex and all persons insofar as they are acting as Monex’s agents,
          servants, employees, successors, assigns, and attorneys, and all persons insofar as
          they are acting in active concert or participation with Monex who receive actual
          notice of such order by personal service or otherwise, from either directly or
          indirectly:

           1. Engaging in conduct in violation of Sections 4(a), 4b(a)(2)(A), (C), 4d, and
              6(c)(1) of the CEA, 7 U.S.C. §§ 6(a), 6b(a)(2)(A), (C), 4d, 9(1), and Regulation
              180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2017);

           2. Trading on or subject to the rules of any registered entity (as that term is defined
              in Section 1a of the CEA, 7 U.S.C. § 1a (2012));

           3. Entering into any transactions involving “commodity interests” (as that term is
              defined in Commission Regulation 1.3(yy), 17 C.F.R. § 1.3(yy) (2017)), for
              Monex’s own accounts or for any account in which they have a direct or indirect
              interest;

           4. Having any commodity interests traded on Monex’s behalf;

           5. Controlling or directing the trading for or on behalf of any other person or entity,
              whether by power of attorney or otherwise, in any account involving commodity
              interests;

           6. Soliciting, receiving, or accepting any funds from any person for the purpose of
              purchasing or selling any commodity interests;

           7. Applying for registration or claiming exemption from registration with the
              Commission in any capacity, and engaging in any activity requiring such
              registration or exemption from registration with the Commission, except as
              provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2017); and/or

           8. Acting as a principal (as that term is defined in Regulation 3.1(a), 17 C.F.R. §
              3.1(a) (2017)), agent, or any other officer or employee of any person (as that term
              is defined in Section 1a(38) of the CEA, 7 U.S.C. § 1a(38)) registered, exempted
              from registration, or required to be registered with the Commission, except as
              provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2017);



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Case 8:17-cv-01868-JVS-DFM Document 6 Filed 09/06/17 Page 3 of 3 Page ID #:39



      B. Appointing an independent monitor to assume control over Monex’s leveraged Atlas
         trading platform;

      C. Freezing Monex’s assets or otherwise requiring Monex to post bond in the
         approximate amount of customer losses from leveraged Atlas trading between July
         16, 2011 and the present;

      D. Preserving the status quo during the pendency of the litigation; and

      E. Providing such other and further relief as the Court may deem necessary and
         appropriate under the circumstances.


Date: September 6, 2017                    Respectfully submitted,


                                           /s Carlin R. Metzger

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